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 1   Laura Belous, Esq. (AZ Bar No. 028132)
     Rocío Castañeda Acosta (AZ Bar No. 031173)
 2   Florence Immigrant & Refugee Rights Project
 3   P.O. Box 86299
     Tucson, AZ 85754
 4   lbelous@firrp.org
 5   (520) 934-7257
     rcastaneda@firrp.org
 6   (52) 934-7410
 7
 8                       UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ARIZONA
 9
10
     Florence Immigrant & Refugee Rights Project
11   Incorporated,
                                    Plaintiff,        No. 4:24-cv-00340-JAS
12
     v.
13                                                      Affidavit of Service
     United States Department of Homeland Security
14
     et al.
15                                    Defendants.
16
17
18
19
20
21
22
23
24
25
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27
28
       Case 4:24-cv-00340-JAS Document 8 Filed 08/20/24 Page 2 of 19




 1   I, Rocío Castañeda Acosta, hereby declare that pursuant to Federal Rule of Civil

 2   Procedure 4(i), I caused the following documents in the above-captioned case to be
 3
     served:
 4
 5      • Conformed Summons; and
        • Complaint.
 6
     I caused the aforementioned documents to be served by certified mail, return receipt
 7
 8   requested, at the following addresses:

 9   Attorney General
10   U.S. Department of Justice
     950 Pennsylvania Avenue, NW
11   Washington, D.C. 20530-0001
12
     Civil Process Clerk
13   Office of the U.S. Attorney
     Two Renaissance Square
14
     40 N. Central Avenue, Suite 1800
15   Phoenix, AZ 85004
16   Civil Law Clerk
17   Office of U.S. Attorney
     405 W. Congress St. #4800
18   Tucson, AZ 85701
19
     U.S. Customs and Border Protection
20   1300 Pennsylvania Avenue, NW
21   Washington, D.C. 20229

22   Office of the General Counsel
23   U.S. Department of Homeland Security
     2707 Martin Luther King Jr. Avenue SE
24   Washington, D.C. 20528-0485
25
     The U.S. Attorneys’ Office for the District of Arizona, Phoenix Office, accepted
26
     service on July 26, 2024. The U.S. Attorney’s Office for the District of Arizona,
27
28   Tucson, Office, accepted service on July 30, 2024. The U.S. Attorney General’s



                                                 2
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 1   Office accepted service on August 1, 2024. U.S. Customs and Border Protection

 2   accepted service on July 29, 2024. The Office of the General Counsel of U.S.
 3
     Department of Homeland Security accepted service on July 30, 2024. Certified mail
 4
 5   receipts accompany this affidavit as Exhibit A. Delivery confirmation in the form of

 6   receipt cards for both the Phoenix and Tucson U.S. Attorney’s Office for the District
 7
     of Arizona and for the U.S. Attorney General’s Office accompany this affidavit as
 8
     Exhibit B. Delivery confirmation in the form of USPS tracking confirmations for U.S.
 9
10   Customs and Border Protection and U.S. Department of Homeland Security
11   accompany this affidavit as Exhibit C. I declare under penalty of perjury under the
12
     laws of the United States of America that the foregoing is true and correct. Executed
13
14   this 20th of August of 2024 at Tucson, Arizona.

15   Dated: August 20, 2024, by:
16
                  s/Rocío Castañeda Acosta
17                Rocío Castañeda Acosta (AZ Bar No. 031173)
18                (520) 934-7410
                  rcastaneda@firrp.org
19
                  Laura Belous (AZ Bar No. 028132)
20
                  (520) 934-7257
21                lbelous@firrp.org
22
                  FLORENCE IMMIGRANT & REFUGEE RIGHTS PROJECT
23
                  P.O. Box 86299
24                Tucson, AZ 85754
25
26
27
28



                                                 3
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  EXHIBIT A
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  EXHIBIT B
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  EXHIBIT C
8/8/24, 2:24 PM         Case 4:24-cv-00340-JAS Document  8 - USPS
                                                 USPS.com®    Filed  08/20/24
                                                                  Tracking® Results Page 15 of 19

         ALERT: FLOODING AND SEVERE WEATHER IN THE SOUTHEAST U.S. MAY IMPACT DELIVERY. …



    USPS Tracking
                                            ®                                                                   FAQs 




                                                                                                              Remove 
    Tracking Number:

    70191640000133317415
          Copy           Add to Informed Delivery (https://informeddelivery.usps.com/)




          Latest Update
          Your item was delivered to the front desk, reception area, or mail room at 11:05 am on July 30, 2024 in
          DHS, VA 20598.



          Get More Out of USPS Tracking:
                  USPS Tracking Plus®


          Delivered
          Delivered, Front Desk/Reception/Mail Room
          DHS, VA 20598




                                                                                                                     Feedback
          July 30, 2024, 11:05 am


          Arrived at Post Office
          WASHINGTON, DC 20018
          July 30, 2024, 9:51 am


          In Transit to Next Facility
          July 29, 2024


          Arrived at USPS Regional Destination Facility
          WASHINGTON DC DISTRIBUTION CENTER
          July 26, 2024, 10:58 am


          Departed Post Office
          TUCSON, AZ 85745
          July 23, 2024, 5:04 pm


https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=70191640000133317415%2C                     1/2
8/8/24, 2:24 PM        Case 4:24-cv-00340-JAS Document  8 - USPS
                                                USPS.com®    Filed  08/20/24
                                                                 Tracking® Results Page 16 of 19

          USPS in possession of item
          TUCSON, AZ 85745
          July 23, 2024, 11:19 am


          Hide Tracking History



      What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


                                                                                                              
        Text & Email Updates


                                                                                                              
        USPS Tracking Plus®


                                                                                                              
        Product Information


                                                              See Less 

    Track Another Package


      Enter tracking or barcode numbers




                                                    Need More Help?
                                  Contact USPS Tracking support for further assistance.


                                                                   FAQs




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=70191640000133317415%2C       2/2
8/8/24, 2:26 PM         Case 4:24-cv-00340-JAS Document  8 - USPS
                                                 USPS.com®    Filed  08/20/24
                                                                  Tracking® Results Page 17 of 19

         ALERT: FLOODING AND SEVERE WEATHER IN THE SOUTHEAST U.S. MAY IMPACT DELIVERY. …



    USPS Tracking
                                            ®                                                                   FAQs 




                                                                                                              Remove 
    Tracking Number:

    70191640000133317392
          Copy           Add to Informed Delivery (https://informeddelivery.usps.com/)




          Latest Update
          Your item was delivered to the front desk, reception area, or mail room at 6:58 am on July 29, 2024 in
          WASHINGTON, DC 20229.



          Get More Out of USPS Tracking:
                  USPS Tracking Plus®


          Delivered
          Delivered, Front Desk/Reception/Mail Room
          WASHINGTON, DC 20229




                                                                                                                     Feedback
          July 29, 2024, 6:58 am


          Redelivery Scheduled for Next Business Day
          WASHINGTON, DC 20229
          July 27, 2024, 11:06 am


          Arrived at Post Office
          WASHINGTON, DC 20018
          July 27, 2024, 6:36 am


          Departed USPS Regional Facility
          WASHINGTON DC DISTRIBUTION CENTER
          July 27, 2024, 2:50 am


          Arrived at USPS Regional Facility
          WASHINGTON DC DISTRIBUTION CENTER


https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=70191640000133317392%2C                     1/3
8/8/24, 2:26 PM        Case 4:24-cv-00340-JAS Document  8 - USPS
                                                USPS.com®    Filed  08/20/24
                                                                 Tracking® Results Page 18 of 19

          July 26, 2024, 12:49 pm


          Departed USPS Regional Facility
          WASHINGTON DC DISTRIBUTION CENTERb
          July 26, 2024, 12:31 pm


          Arrived at USPS Regional Facility
          WASHINGTON DC DISTRIBUTION CENTERb
          July 26, 2024, 11:24 am


          Departed USPS Regional Facility
          PHILADELPHIA PA DISTRIBUTION CENTERb
          July 26, 2024, 8:31 am


          Arrived at USPS Regional Facility
          PHILADELPHIA PA DISTRIBUTION CENTERb
          July 25, 2024, 10:31 pm


          Departed USPS Regional Facility
          PHILADELPHIA PA DISTRIBUTION CENTERb
          July 25, 2024, 9:37 pm


          Arrived at USPS Regional Facility
          PHILADELPHIA PA DISTRIBUTION CENTERb
          July 25, 2024, 11:42 am


          Arrived at USPS Regional Origin Facility
          PHOENIX AZ DISTRIBUTION CENTERb
          July 23, 2024, 10:26 pm


          Departed Post Office
          TUCSON,bAZb85745b
          July 23, 2024, 5:04 pm


          USPS in possession of item
          TUCSON,bAZb85745b
          July 23, 2024, 11:13 am


          Hide Tracking History



      What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


                                                                                                              
        Text & Email Updates

https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=70191640000133317392%2C       2/3
8/8/24, 2:26 PM        Case 4:24-cv-00340-JAS Document  8 - USPS
                                                USPS.com®    Filed  08/20/24
                                                                 Tracking® Results Page 19 of 19


                                                                                                              
        USPS Tracking Plus®


                                                                                                              
        Product Information


                                                              See Less 

    Track Another Package


      Enter tracking or barcode numbers




                                                    Need More Help?
                                  Contact USPS Tracking support for further assistance.


                                                                   FAQs




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=70191640000133317392%2C       3/3
